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8
                                  UNITED STATES DISTRICT COURT
9                               NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
10

11   FEDERAL TRADE COMMISSION,
12                 Plaintiff,
13          v.                                        Case No. 3:23-cv-01710-AMO
14   INTERCONTINENTAL                                 PLAINTIFF FEDERAL TRADE
     EXCHANGE, INC.                                   COMMISSION’S MOTION TO STRIKE
15                                                    DEFENDANTS’ AFFIRMATIVE
     and                                              DEFENSES
16
     BLACK KNIGHT, INC.,
17
                   Defendants.
18

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     PLAINTIFF’S MOTION TO STRIKE DEFENDANTS’ AFFIRMATIVE DEFENSES
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1
                                 NOTICE OF MOTION AND MOTION
2
            PLEASE TAKE NOTICE that, on June 22, 2023, at 2:00 p.m., Plaintiff Federal Trade
3
     Commission (“FTC”) shall move and hereby does move the Court to strike certain affirmative
4
     defenses of Defendants Intercontinental Exchange, Inc. (“ICE”) and Black Knight, Inc. (“Black
5
     Knight”), pursuant to Federal Rule of Civil Procedure 12(f).
6
            Plaintiff respectfully requests this Court to strike Defendants’ identical First, Second,
7
     Third, Fourth, Fifth, Sixth, Seventh, and Eighth Affirmative Defenses. None of these defenses is
8
     pertinent or material to the FTC’s request for a preliminary injunction pursuant to Federal Trade
9
     Commission Act § 13(b), 15 U.S.C. § 53(b). These defenses also fail to meet minimum pleading
10
     standards.
11
            Plaintiff’s motion is based on this Notice of Motion; the Memorandum of Points and
12
     Authorities in Support filed concurrently; all other pleadings on file in this action; and any other
13
     written or oral argument that Plaintiff may present to the Court.
14
                                        ISSUE TO BE DECIDED
15
            Whether the Court should strike Defendants’ First, Second, Third, Fourth, Fifth, Sixth,
16
     Seventh, and Eighth Affirmative Defenses because they, alternatively, (1) are immaterial and
17
     impertinent to the FTC’s request for preliminary injunctive relief pursuant to Section 13(b) of
18
     the Federal Trade Commission Act, 15 U.S.C. 53(b); and (2) fail to meet the pleading standards
19
     of Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007).
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1                         MEMORANDUM OF POINTS AND AUTHORITIES

2            Plaintiff Federal Trade Commission (“FTC”) respectfully moves pursuant to Federal Rule

3    of Civil Procedure 12(f) to strike various affirmative defenses that Defendants Intercontinental

4    Exchange, Inc. (“ICE”) and Black Knight, Inc. (“Black Knight”) have asserted in this case. The

5    affirmative defenses that are the subject of this Motion raise various constitutional arguments

6    about the FTC’s process and powers. They should be struck for three reasons. First, Defendants

7    pled all but one of these defenses as counterclaims and previously told the Court that they “are

8    amenable to resolution of their counterclaims coming after and trailing the resolution of the

9    FTC’s request for a preliminary injunction.” Joint Case Mgmt. (Dkt. No. 72) at 18-19. In other

10   words, Defendants agree that constitutional issues are not necessary to deciding whether to grant

11   the FTC’s claim for a preliminary injunction. Second, even putting aside Defendants’

12   counterclaims and concession, the constitutional defenses should be struck as immaterial and

13   impertinent to the narrow inquiry that the Ninth Circuit has directed courts to undertake in

14   evaluating an FTC claim for a preliminary injunction pursuant to Section 13(b). In a recent

15   Section 13(b) merger challenge brought by the FTC, a court in this District held that

16   constitutional defenses that challenge the FTC’s process and powers are not part of the Section

17   13(b) inquiry and granted the FTC’s motion to strike constitutional affirmative defenses

18   (including defenses substantively identical to the ones Defendants pled here). See FTC v. Meta

19   Platforms Inc., No. 5:22-CV-04325-EJD, 2022 WL 16637996, at *7 (N.D. Cal. Nov. 2, 2022).

20   Third, Defendants’ constitutional defenses should be struck because they consist of barebones

21   assertions that are insufficiently pled.

22   I.      BACKGROUND

23           The FTC brought this action to preserve the status quo while it adjudicates whether ICE’s

24   proposed acquisition of Black Knight (the “Acquisition”) violates the antitrust laws. Compl.

25   (Dkt. No. 1) at 2 & ¶ 19. On May 4, 2022, ICE and Black Knight signed an Agreement and Plan

26   of Merger, pursuant to which ICE agreed to acquire 100% of Black Knight. Id. ¶ 28. On April

27   10, 2023, the FTC filed its Complaint in this Court requesting, inter alia, a preliminary

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1    injunction pursuant to FTC Act § 13(b), 15 U.S.C. § 53(b), to restrain Defendants from

2    completing the Acquisition until the FTC’s administrative adjudication on the merits is

3    completed. Id. at 2 & ¶ 19. The FTC filed its administrative complaint on March 9, 2023. Id. ¶

4    17; see Compl., In re Intercontinental Exchange, Inc. & Black Knight, Inc. (FTC Dkt. No. 9413),

5    available at https://www.ftc.gov/system/files/ftc_gov/pdf/d09413icebkp3complaintredacted.pdf.1

6             On April 25, 2023, ICE and Black Knight filed their respective Answers. Defendants

7    each asserted identical defenses relevant to this Motion:

8             First Defense (Structure of Proceedings Violates Due Process): “The structure of the

9    related administrative proceedings, in which the Commission both initiates and finally

10   adjudicates the Complaint against Intercontinental Exchange, having prejudged the merits of the

11   action, violates Intercontinental Exchange’s Fifth Amendment Due Process right to adjudication

12   before a neutral arbiter.” ICE Answer (Dkt. No. 57) at 30; see Black Knight Answer (Dkt. No.

13   58) at 26.

14            Second Defense (Commission’s Procedures Violate Due Process): “The Commission’s

15   procedures violate Intercontinental Exchange’s right to procedural due process under the Due

16   Process Clause of the Fifth Amendment.” ICE Answer (Dkt. No. 57) at 30; see Black Knight

17   Answer (Dkt. No. 58) at 26.

18            Third Defense (Commission’s Procedures Violate Equal Protection Clause): “The

19   Commission’s procedures arbitrarily subject Intercontinental Exchange to administrative

20   proceedings rather than to proceedings before an Article III judge in violation of Intercontinental

21   Exchange’s right to Equal Protection under the Fifth Amendment.” ICE Answer (Dkt. No. 57)

22   at 30; see Black Knight Answer (Dkt. No. 58) at 26.

23            Fourth Defense (Constraints on Removal Violate Article II of the Constitution): “The

24   related administrative proceedings are invalid because the constraints on removal of the

25
     1
         A court may take judicial notice of documents filed in FTC administrative proceedings. E.g.,
26
     Veal v. LendingClub Corp., 423 F. Supp. 3d 785, 802 (N.D. Cal. 2019).
27

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1    Commissioners and the Administrative Law Judge violate Article II of the Constitution and the

2    separation of powers.” ICE Answer (Dkt. No. 57) at 31; see Black Knight Answer (Dkt. No. 58)

3    at 26.

4             Fifth Defense (Delegation of Legislative Power Unconstitutional): “The related

5    administrative proceedings are invalid because Congress unconstitutionally delegated legislative

6    power to the Commission by failing to provide an intelligible principle by which the

7    Commission would exercise the delegated power.” ICE Answer (Dkt. No. 57) at 31; see Black

8    Knight Answer (Dkt. No. 58) at 27.

9             Sixth Defense (Violation of Fifth Amendment): “Granting the relief sought would

10   constitute a taking of Intercontinental Exchange’s property in violation of the Fifth Amendment

11   to the Constitution.” ICE Answer (Dkt. No. 57) at 31; see Black Knight Answer (Dkt. No. 58) at

12   27.

13            Seventh Defense (Violation of Seventh Amendment): “The adjudication of the Complaint

14   against Intercontinental Exchange through the related administrative proceedings violates

15   Intercontinental Exchange’s Seventh Amendment right to a jury trial.” ICE Answer (Dkt. No.

16   57) at 31; see Black Knight Answer (Dkt. No. 58) at 27.

17            Eighth Defense (Violation of Article III of the U.S. Constitution): “The adjudication of

18   the Complaint against Intercontinental Exchange through the related administrative proceedings

19   adjudicates private rights and therefore violates Article III of the U.S. Constitution and the

20   Seventh Amendment.” ICE Answer (Dkt. No. 57) at 31; see Black Knight Answer (Dkt. No. 58)

21   at 27.

22            Defendants also pled all but one of these defenses as part of a counterclaim against the

23   FTC. Defendants each pled a single counterclaim (“Defendants’ Count I”), which charges that

24   the FTC’s administrative proceeding violates Article III, Defendants’ Equal Protection and Due

25   Process rights, Article II, and the Seventh Amendment and constitutes an unconstitutional

26   Congressional delegation of power. See ICE Answer (Dkt. No. 57) at 42–43; Black Knight

27   Answer (Dkt. No. 58) at 38–39. The only constitutional defense that Defendants have not also

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1    raised in their counterclaim is their Sixth Defense that granting the FTC’s requested relief would

2    constitute a taking in violation of the Fifth Amendment’s Takings Clause.

3    II.    ARGUMENT

4           Defendants’ constitutional defenses should be struck for several independent reasons.

5    First, Defendants concede that the constitutional issues they have raised as counterclaims are not

6    required to decide the FTC’s request for a preliminary injunction under Section 13(b) of the

7    Federal Trade Commission Act. That concession suffices to strike their constitutional defenses as

8    “impertinent” and “immaterial” under Federal Rule of Civil Procedure 12(f). Second, even

9    putting aside Defendants’ counterclaims and concession, the constitutional defenses are

10   “impertinent” and “immaterial” to the issues the Ninth Circuit has held that a court needs to

11   resolve in deciding whether to grant an FTC claim to preliminarily enjoin a merger. Another

12   court in this District recently applied that law and struck constitutional defenses from an FTC

13   action to preliminarily enjoin a merger. Third, the constitutional defenses each consist of bare

14   statements of legal conclusions that fail to meet the required pleading standards.

15          A.      Defendants’ Constitutional Defenses Are Immaterial and Impertinent

16          Defendants’ constitutional defenses should be struck because they are “immaterial” and

17   “impertinent.” See Fed. R. Civ. P. 12(f). An “[i]mmaterial matter is that which has no essential or

18   important relationship to the claim for relief or the defenses being pleaded,” and an

19   “[i]mpertinent matter consists of statements that do not pertain, and are not necessary, to the

20   issues in question.” Fantasy, Inc. v. Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993), rev’d on other

21   grounds, 510 U.S. 517 (1994) (quoting 5 Charles A. Wright & Arthur R. Miller, Federal Practice

22   and Procedure § 1382, at 706–07, 711 (1990)); see also Meta Platforms, 2022 WL 16637996, at

23   *2, 4. “The purpose of a motion to strike under Rule 12(f) ‘is to avoid the expenditure of time

24   and money that must arise from litigating spurious issues.’” Meta Platforms, 2022 WL

25   16637996, at *1 (quoting SidneyVinstein v. A.H. Robins Co., 697 F.2d 880, 885 (9th Cir. 1983).

26          Defendants’ constitutional defenses raise “spurious issues” and should be struck for two

27   independent reasons.

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1           First, Defendants concede that constitutional issues they have raised in this action may

2    properly be deferred until after the Court rules on the FTC’s claim for a preliminary injunction.

3    In the Joint Case Management Statement, Defendants sought a prompt hearing on the FTC’s

4    claim for a preliminary injunction under Section 13(b) of the Federal Trade Commission Act.

5    See Joint Case Mgmt. (Dkt. No. 72) at 16. Defendants told the Court that they “are amenable to

6    resolution of their counterclaims coming after and trailing the resolution of the FTC’s request for

7    a preliminary injunction.” Id. at 18-19. Defendants, therefore, concede that constitutional matters

8    are neither essential, necessary, nor pertain to deciding whether to grant the FTC’s claim for a

9    preliminary injunction under Section 13(b). In addition, Defendants argued that scheduling a

10   prompt hearing is “the most prudent approach” because “it may avoid ruling on the substantial

11   constitutional issues raised by the FTC’s administrative proceeding that would be front and

12   center if this Court effectively deferred to that proceeding.” Id. at 17. Defendants’ argument that

13   prudence supports avoiding “substantial constitutional issues” contradicts any attempt now to

14   urge this Court to maintain and decide their constitutional defenses. Defendants are right:

15   constitutional issues can be decided (if at all) later because they are not pertinent or material to

16   deciding the FTC’s claim under Section 13(b) of the Federal Trade Commission Act.

17          Second, even putting aside Defendants’ concession, a recent decision from another court

18   in this District is directly on point and supports striking the constitutional defenses. FTC v. Meta

19   Platforms, Inc., addressed this same issue, applied Ninth Circuit law, and concluded that

20   constitutional procedural defenses should be struck from an FTC action for a preliminary

21   injunction pursuant to Section 13(b) of the Federal Trade Commission Act. In that case, as here,

22   the FTC filed suit to preliminarily enjoin an acquisition pursuant to Section 13(b). 2022 WL

23   16647996 at *1. The defendants pled various affirmative defenses, including alleged bias that

24   violated, among other things, the Due Process Clause, and (like the Defendants here) other

25   constitutional defenses arising out of the Due Process Clause and Article II. Meta Platforms,

26   2022 WL 16637996, at *7; Meta Platforms, No. 5:22-CV-04325-EJD, Dkt. 84 (Defendant Meta

27   Platform, Inc.’s Answer and Affirmative Defenses) at 17 (“Chair Khan’s participation

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1    irrevocably taints the FTC’s claim, including because its initiation and maintenance violates the

2    Due Process Clause, U.S. Const. amend. V . . . .”). The court struck all of the challenged

3    affirmative defenses, and its reasoning applies here.2

4             Following Ninth Circuit precedent, the Meta Platforms court held that the inquiry under

5    Section 13(b) of the Federal Trade Commission Act requires courts to (1) determine the

6    likelihood that the Commission will ultimately succeed on the merits in the underlying

7    administrative proceeding and (2) balance the equities. See id. at *4 (citing FTC v. Warner

8    Commc’ns Inc., 742 F.2d 1156, 1160 (9th Cir. 1984) and FTC v. Simeon Mgmt. Corp., 532 F.2d

9    708, 713–14 (9th Cir. 1976)); see also id. at *5 (relying on FTC v. H.J. Heinz Co., 246 F.3d 708,

10   714 (D.C. Cir. 2001) and FTC v. Staples, Inc., 239 F. Supp. 3d 1, 5 (D.D.C. 2000)). The Ninth

11   Circuit in “Simeon instructed courts considering a Section 13(b) request to focus on the FTC’s

12   proceedings and expressly declined to comment on the case’s future disposition following the

13   FTC’s final decision.” Id. at *5 (emphasis added).

14            It follows from the limited scope of the inquiry in a Section 13(b) case that determining

15   the likelihood of success “on the merits” means determining “the action’s Section 7 antitrust

16
     2
         The Meta Platforms court first analyzed the impertinence of the defendants’ bias defenses,
17
     which relied on, in part, the Due Process Clause, see 2022 WL 16647996, at *4–7, struck them,
18
     and then turned to the other constitutional defenses. The court first explained that its “assessment
19
     of the[] constitutional affirmative defenses overlaps significantly with its analysis of Defendants’
20
     bias-related defenses, particularly regarding the Court’s ability to consider these arguments in the
21
     limited procedural posture of a Section 13(b) preliminary injunction request.” Id. at *7. The court
22
     was clear that its reasoning applied also to constitutional defenses. See id. (“to the extent
23
     Defendants’ constitutional defenses are predicated on Chair Khan’s alleged bias or procedural
24
     deficiencies, these defenses would likewise be stricken without leave to amend”). The court
25
     ultimately struck the constitutional defenses because they also were insufficiently pled. See id.
26
     That part of Meta Platforms also applies here for the reasons set forth in Part II.B, infra.
27

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1    merits, as distinguishable from any procedural due process issues arising from the FTC’s

2    proceedings.” Id. at *6. This is consistent with the “oft-cited standard for ‘likelihood of ultimate

3    success’ [that] describes merits questions [in a Section 13(b) proceeding] as those that would

4    require ‘thorough investigation, study, deliberation, and determination by the FTC,’ a

5    characterization that is consistent with a ‘preliminary assessment of a merger’s impact on

6    competition.’” Id. at *6 (quoting Warner, 742 F.2d at 1162). Accordingly, affirmative defenses

7    arising out of alleged procedural defects (even constitutional procedural defects) are not pertinent

8    to deciding whether to grant preliminary relief pursuant to Section 13(b) of the Federal Trade

9    Commission Act. “[T]o the extent Defendants’ constitutional defenses are predicated on . . . bias

10   or procedural deficiencies, these defenses would likewise be stricken without leave to amend.”

11   See id. at *7.

12           Meta Platforms’ reasoning applies here, and the constitutional defenses here should be

13   stricken as they were in that case. This is the same type of case, an FTC action for preliminary

14   injunctive relief pursuant to Section 13(b) of the Federal Trade Commission Act. The Ninth

15   Circuit precedent on the limited scope of a Section 13(b) proceeding applies. The Section 13(b)

16   inquiry is strictly focused on the antitrust merits, and alleged procedural issues (even of a

17   constitutional dimension) are outside the scope of issues necessary to decide whether to grant a

18   preliminary injunction. The constitutional defenses, therefore, are impertinent and immaterial

19   and should be struck.

20                                                       ***

21           The grounds for striking the constitutional defenses are even stronger here than in Meta

22   Platforms. Perhaps mindful of the decision in Meta Platforms, Defendants here also pled the

23   constitutional defenses (except for their Takings Clause defense) as counterclaims. They have,

24   therefore, preserved an opportunity to litigate constitutional issues even after the defenses are

25   struck. And Defendants have, as explained above, conceded that the constitutional issues in their

26   counterclaims are best heard after the Court decides the Section 13(b) inquiry on the antitrust

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1    merits. Defendants’ concession confirms what Meta Platforms held: constitutional defenses

2    should be struck.

3              B.     The Defenses Should be Stricken Because They Fail to Identify the Factual

4                     Bases Underlying the Defenses.

5              The constitutional defenses also are defective because they are insufficiently pled. Courts

6    in this District have routinely held that the pleading standard applied to complaints in Bell

7    Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), and clarified in Ashcroft v. Iqbal, 556 U.S. 662

8    (2009), applies also to affirmative defenses. E.g., Meta Platforms, 2022 WL 16637996, at *1;

9    Goobich v. Excelligence Learning Corp., No. 5:19-cv-06771-EJD, 2020 WL 1503685, at *2

10   (N.D. Cal. Mar. 30, 2020) (collecting cases). “Accordingly, although an affirmative defense

11   ‘need not include extensive factual allegations it must nonetheless include enough supporting

12   information to be plausible; bare statements reciting legal conclusions will not suffice.’” Meta

13   Platforms Inc., 2022 WL 16637996, at *1 (quoting MIC Prop. & Cas. Corp. v. Kennolyn Camps,

14   Inc., 2015 WL 4624119, at *2 (N.D. Cal. Aug. 3, 2015)). The Meta Platforms court struck

15   various constitutional defenses, finding “that Defendants’ constitutional defenses are

16   inadequately pled, as each consists of a single sentence asserting relief arising out of either

17   Article II of the U.S. Constitution or the Due Process Clause.” Id. at *7. “In the absence of any

18   factual allegations, Defendants’ constitutional defenses do not provide fair notice as to the bases

19   for these defenses and, therefore, are insufficient even under the most liberal of pleading

20   standards.” Id. (quotation marks omitted).

21             This is particularly true with respect to the only defense that Defendants did not also

22   plead as part of their counterclaims.3 The “Sixth Defense (Violation of Fifth Amendment)”

23

24   3
         That Defendants included factual allegations regarding the other constitutional defenses in their
25
     counterclaim pleading does not render those defenses properly pled. “To the extent that
26
     Defendant argues that Plaintiffs are aware of the nature of its affirmative defenses, there is no
27   (Continued…)
28
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1    alleges in full: “Granting the relief sought would constitute a taking of Intercontinental

2    Exchange’s property in violation of the Fifth Amendment to the Constitution.” ICE Answer

3    (Dkt. No. 57) at 31; see Black Knight Answer (Dkt. No. 58) at 27. That barebones legal

4    conclusion is insufficient under even the most liberal pleading standard. It should be struck.

5    III.   CONCLUSION

6           For the foregoing reasons, the FTC respectfully moves for this Court to strike with

7    prejudice Defendants’ First, Second, Third, Fourth, Fifth, Sixth, Seventh, and Eighth Defenses.

8    Dated: May 16, 2023                                Respectfully submitted,
9                                                       /s/ Abby L. Dennis
                                                        Abby L. Dennis
10                                                      Peter Richman
                                                        Ashley Masters
11                                                      Abigail Wood
                                                        Daniel Aldrich
12                                                      Catherine Bill
                                                        Caitlin Cipicchio
13                                                      Steven Couper
                                                        Janet Kim
14                                                      Christopher Lamar
                                                        Laura Antonini
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                                                        Washington, DC 20580
19                                                      Tel: (202) 326-2381
20
                                                        Counsel for Plaintiff Federal Trade
21                                                      Commission
22
     authority supporting the notion that the opposing party’s knowledge of the general facts of the
23
     case excuses the omission of factual bases of pleading affirmative defenses.” Facebook, Inc. v.
24
     Gajjar, No. 4:20-CV-02429-KAW, 2022 WL 2239834, at *7 (N.D. Cal. June 17, 2022)
25
     (quotation marks omitted). Even if it did, there is no Taking Clause claim in the counterclaims,
26
     and that defense remains insufficiently pled.
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     PLAINTIFF’S MOTION TO STRIKE DEFENDANTS’ AFFIRMATIVE DEFENSES
     CASE NO. 3:23-CV-01710-AMO
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